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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider         MDL No. 3121
 Litigation




                                      PROOF OF SERVICE


      I hereby certify that a copy of the foregoing Proof of Service was served by Email
on August 8, 2024, to the following:


                                      Plaintiff’s Counsel
 Steven Shoshany, D.C., v. Multiplan, Inc., et   Allegiance Health Management, Inc. et al. v.
 al., Case No. 1:24-cv-05201                     MultiPlan, Inc. et al., Case No. 1:24-cv-
                                                 03223
 Michael J. Flannery
 CUNEO GILBERT & LADUCA, LLP                     Warren T. Burns
 Two CityPlace Drive, Second Floor               Quinn M. Burns
 St. Louis, MO 63141                             BURNS CHAREST LLP
 mflannery@cuneolaw.com                          900 Jackson St., Suite 500
                                                 Dallas, TX 75202
 Gary Burger (N.D. Ill. Bar No.6212156)          Telephone: (469) 904-4550
 BURGER LAW                                      wburns@burnscharest.com
 332 S Michigan Ave, Suite 900                   qburns@burnscharest.com
 Chicago, IL 60604
 gary@burgerlaw.com                              Robert A. Clifford
                                                 Shannon M. McNulty
 Charles J. LaDuca; Evelyn Riley;                James C. Pullos
 Claire Esmonde                                  Kristofer S. Riddle
 CUNEO GILBERT & LADUCA, LLP 4725                CLIFFORD LAW OFFICES, P.C.
 Wisconsin Ave. NW, Suite 200                    12 North LaSalle Street, 36th Floor
 Washington, DC 20016                            Chicago, Il 60602
 charles@cuneolaw.com                            Telephone: 312-899-9090
 evelyn@cuneolaw.com                             rac@cliffordlaw.com
 cesmonde@cuneolaw.com                           smm@cliffordlaw.com
                                                 jcp@cliffordlaw.com
                                                 ksr@cliffordlaw.com
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 2 of 9




John W. Barrett; Sterling Aldridge           Derrick G. Earles
BARRETT LAW GROUP, P.A.                      LABORDE EARLES
P.O. Box 927, 404 Court Square North         1901 Kaliste Saloom Road
Lexington, MS 39095                          Lafayette, LA 70508
dbarrett@barrettlawgroup.com                 Telephone: 337-223-9925
saldridge@barrettlawgroup.com                digger@onmyside.com
Adventist Health System Sunbelt Healthcare   Live Well Chiropractic PLLC v. Multiplan,
Corporation v. Multiplan Inc., Case No.      Inc. et al, Case No. 1:24-cv-03680
1:23-cv-07031
                                             Brian D. Clark
Dylan Ballard                                David W. Asp
Madison Lo                                   R. David Hahn
Michael Scarborough                          Derek Waller
VINSON & ELKINS                              LOCKRIDGE GRINDAL NAUEN PLLP
555 Mission Street, Suite 2000               100 Washington Ave. S, Suite 2200
San Francisco, CA 94105                      Minneapolis, MN 55401
Telephone: 415-979-6955                      Telephone: 612-339-6900
dballard@velaw.com                           bdclark@locklaw.com
mlo@velaw.com                                dwasp@locklaw.com
mscarborough@velaw.com                       rdhahn@locklaw.com
                                             dcwaller@locklaw.com
Rami Abdallah Rashmawi
Stephen M. Medlock                           Stephen J. Teti
Michael Smith McCambridge                    Kristie A. LaSalle
Tyler Somes                                  LOCKRIDGE GRINDAL NAUEN PLLP
VINSON & ELKINS LLP                          265 Franklin St., Suite 1702
2200 Pennsylvania Ave., NW, Suite 500        Boston, MA 02110
Washington, DC 20037                         Telephone: 617-535-3763
Telephone: 202-639-6757                      sjteti@locklaw.com
rrashmawi@velaw.com                          kalasalle@locklaw.com
smedlock@velaw.com
mmccambridge@velaw.com                       Kyle Pozan (IL Bar No. 6306761)
tsomes@velaw.com                             LOCKRIDGE GRINDAL NAUEN PLLP
                                             1165 N. Clark Street, Suite 700
Mackenzie Gray Newman                        Chicago, IL 60610
Christopher Emmanuel Duffy                   Telephone: 312-205-8968
VINSON & ELKINS LLP                          kjpozan@locklaw.co
114 Avenue of the Americas
New York, NY 10036
Telephone: 212-237-0000
mnewman@velaw.com
cduffy@velaw.com
Ivy Creek of Tallapoosa LLC et al v.         CHS/Community Health Systems, Inc. v.
Multiplan, Inc., Case No. 1:24-cv-03900      Multiplan, Inc., Case No. 1:24-cv-03544

Joseph P. Guglielmo                          Dylan Ballard
        Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 3 of 9




SCOTT+SCOTT ATTORNEYS AT LAW            Michael Scarborough
LLP                                     VINSON & ELKINS
The Helmsley Building                   555 Mission Street, Suite 2000
230 Park Avenue, 17th Floor             San Francisco, CA 94105
New York, NY 10169                      Telephone: 415-979-6955
Telephone: 212-223-6444                 dballard@velaw.com
jguglielmo@scott-scott.com              mscarborough@velaw.com

Patrick J. Coughlin                     Mackenzie Grey Newman
Carmen Medici                           James McGovern
Jonathan Smallwood                      VINSON & ELKINS LLP
SCOTT+SCOTT ATTORNEYS AT LAW            1114 Avenue of the Americas
LLP                                     New York, NY 10036
600 West Broadway, Suite 3300           Telephone: 212-237-0000
San Diego, CA 92101                     mnewman@velaw.com
Telephone: 619-798-5319                 jmcgovern@velaw.com
pcoughlin@scott-scott.com
cmedici@scott-scott.com                 Stephen M. Medlock
jsmallwood@scott-scott.com              VINSON & ELKINS LLP
                                        2200 Pennsylvania Ave., NW
Patrick McGahan                         Suite 500 West
Michael Srodoski                        Washington, DC 20037
SCOTT+SCOTT ATTORNEYS AT LAW            Telephone: 202-639-6578
LLP                                     smedlock@velaw.com
156 S. Main St.
Colchester, CT 06415
Telephone: 860-531-2606
pmcgahan@scott-scott.com
msrodoski@scott-scott.com

Labeat Rrahmani
KOREIN TILLERY, LLC
205 North Michigan Avenue, Suite 1950
Chicago, IL 60601
Telephone: 312-641-9750
lrrahmani@koreintillery.com

Christopher M. Burke
Walter Noss
Yifan (Kate) Lv
KOREIN TILLERY PC
707 Broadway, Suite 1410
San Diego, CA 92101
Telephone: 619-625-5620
cburke@koreintillery.com
wnoss@koreintillery.com
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 4 of 9




klv@koreintillery.com

Curtis F. Robinson MD Inc. d/b/a
Panoramic Medicine, Case No. 3:24-cv-
02993

Yaman Salahi
EDELSON PC
150 California Street, 18th Floor
San Francisco, California 94111
Telephone: 415-212-9300
ysalahi@edelson.com

Natasha J. Fernandez-Silber
Julian Zhu
EDELSON PC
350 North LaSalle Street, 14th Floor
Chicago, Illinois, 60654
Telephone: 773-389-2242
nfernandezsilber@edelson.com
jzhu@edelson.com



                                    DEFENSE COUNSEL
Multiplan, Inc. & Multiplan Corp            Health Care Service Corporation

Gary Feinerman                              Brian Kavanaugh
LATHAM & WATKINS LLP                        Scott D. Stein
330 North Wabash Avenue, Suite 2800         SIDLEY AUSTIN LLP
Chicago, IL 60611                           One South Dearborn St.
Telephone: 312-876-7700                     Chicago, IL 60603
gary.feinerman@lw.com                       Telephone: 312-853-7000
                                            bkavanaugh@sidley.com
Eric Evans Wohlforth, Jr                    sstein@sidley.com
ROBINSON & COLE LLP
666 Third Avenue
Ste 20th Floor
New York, NY 10017
Telephone: 212-451-2999
ewohlforth@rc.com

Errol J. King
Brittany Holt Alexander
Katherine C. Mannino
Taylor J. Crousillac
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 5 of 9




PHELPS DUNBAR LLP
II City Plaza
400 Convention Street, Suite 1100
Baton Rouge, LA 70802-5618
Telephone: 225-346-0285
errol.king@phelps.com
brittany.alexander@phelps.com
katie.mannino@phelps.com
taylor.crousillac@phelps.com

Lawrence Edward Buterman
Katherine A. Rocco
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
Telephone: 212-906-1200
lawrence.buterman@lw.com
katherine.rocco@lw.com

Sadik Harry Huseny
Brendan McShane
LATHAM & WATKINS, LLP
505 Montgomery Street, Ste. 2000
San Francisco, CA 94111
Telephone: 415-391-0600
sadik.huseny@lw.com
brendan.mcshane@lw.com

Anna M Rathbun
Molly M. Barron
LATHAM & WATKINS
555 Eleventh Street, NW, Suite1000
Washington, DC 20004
Telephone: 202-637-2200
anna.rathbun@lw.com
molly.barron@lw.com

Craig L. Caesar
PHELPS DUNBAR LLP
365 Canal Street, Suite 2000
New Orleans, LA 70130
Telephone: 504-584-9272
Craig.Caesar@phelps.com
Aetna, Inc.                            Elevance Health, Inc.

Jonathan B. Pitt                       E. Desmond Hogan
        Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 6 of 9




Katherine A. Trefz                    Justin Bernick
WILLIAMS & CONNOLLY LLP               HOGAN LOVELLS US LLP
680 Maine Avenue, S.W.                Columbia Square
Washington, D.C. 20024                555 Thirteenth Street, NW
Telephone: 202-434-5000               Washington, D.C. 20004
jpitt@wc.com                          Telephone: 202-637-5600
ktrefz@wc.com                         desmond.hogan@hoganlovells.com
                                      justin.bernick@hoganlovells.com

                                      Jordan D. Teti
                                      HOGAN LOVELLS US LLP
                                      1999 Avenue of the Stars
                                      Suite 1400
                                      Los Angeles, CA 90067
                                      Telephone: 310-785-4600
                                      jordan.teti@hoganlovells.com
Centene Corporation                   The Cigna Group

Arthur J. Burke                       Daniel R. Campbell (SBN 6312473)
Sheila R. Adams James                 Emilie O’Toole (SBN 6330228)
DAVIS POLK & WARDWELL LLP             MCDERMOTT WILL & EMERY LLP
450 Lexington Avenue                  444 West Lake Street
New York, NY 10017                    Chicago, IL 60606-0029
Telephone: 212-450-4000               Telephone: 312-372-2000
arthur.burke@davispolk.com            dcampbell@mwe.com
sheila.adams@davispolk.com            eotoole@mwe.com

                                      Joshua B. Simon
                                      Warren Haskel
                                      Dmitriy Tishyevich
                                      Chelsea Cosillos
                                      MCDERMOTT WILL & EMERY LLP
                                      One Vanderbilt Avenue
                                      New York, NY 10017
                                      Telephone: 212-547-5400
                                      jsimon@mwe.com
                                      whaskel@mwe.com
                                      dtishyevich@mwe.com
                                      ccosillos@mwe.com
United Healthcare Group, Inc.         Kaiser Foundation Health Plan (Kaiser
                                      Permanente LLC)
Rachel Brass
GIBSON, DUNN & CRUTCHER LLP           Jason Stiehl
One Embarcadero Center, Suite 2600    CROWELL & MORING LLP
San Francisco, CA 94111               455 North City front Plaza Drive, Suite 3600
Telephone: 415-393-8293               Chicago, IL 60611
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 7 of 9




RBrass@gibsondunn.com                     Telephone: 312-321-4200
                                          jstiehl@crowell.com
Heather Richardson
GIBSON, DUNN & CRUTCHER LLP               Jason C. Murray
333 South Grand Avenue                    Jordan L. Ludwig
Los Angeles, CA 90071                     Jazmine Buckley
213-229-7409                              CROWELL & MORING LLP
HRichardson@gibsondunn.com                515 South Flower Street, 40th Floor
                                          Los Angeles, CA 90071
Joshua Lipton                             Telephone: 213-622-4750
Kristen Limarzi                           jmurray@crowell.com
GIBSON DUNN & CRUTCHER LLP                jludwig@crowell.com
1050 Connecticut Ave NW                   jbuckley@crowell.com
Washington DC 20036
Telephone: 202-955-8226                   Ashley L. McMahon
jlipton@gibsondunn.com                    CROWELL & MORING LLP
klimarzi@gibsondunn.com                   1001 Pennsylvania Avenue, NW
                                          Washington, DC 20004
Scott J. Fisher                           Telephone: 202-624-2500
Eric Y. Choi                              amcmahon@crowell.com
NEAL, GERBER & EISENBERG LLP
Two North LaSalle St., Suite 1700         Melissa Nguyen
Chicago, IL, 60602                        CROWELL & MORING LLP
Telephone: 312-269-8035                   3 Park Plaza, 20th Floor
sfisher@nge.com                           Irvine, CA 92614
echoi@nge.com                             Telephone: 415-365-7228
                                          mnguyen@crowell.com
Humana, Inc.                              Viant Inc.; Viant Payment Systems, Inc.;
                                          National Care Network LP; National Care
Daniel P. Culley                          Network LLC
CLEARY GOTTLIEB STEEN &
HAMILTON LLP                              Gary Feinerman
2112 Pennsylvania Avenue NW, Suite 1000   LATHAM & WATKINS LLP
Washington DC 20037                       330 North Wabash Avenue, Suite 2800
Telephone: 202-974-1500                   Chicago, IL 60611
dculley@cgsh.com                          Telephone: 312-876-7700
                                          gary.feinerman@lw.com
Heather Nyong’o
CLEARY GOTTLIEB STEEN &                   Lawrence Edward Buterman
HAMILTON LLP                              Katherine A. Rocco
650 California Street, Suite 2000         LATHAM & WATKINS LLP
San Francisco, CA 94108                   1271 Avenue of the Americas
Telephone: 415-796-4480                   New York, NY 10020
hnyongo@cgsh.com                          Telephone: 212-906-1200
                                          lawrence.buterman@lw.com
Scott Solberg                             katherine.rocco@lw.com
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 8 of 9




Benjamin E. Waldin
Vanessa Jacobsen                       Sadik Harry Huseny
John K. Adams                          LATHAM & WATKINS, LLP
EIMER STAHL LLP                        505 Montgomery Street, Ste. 2000
224 S. Michigan Ave, Suite 1100        San Francisco, CA 94111
Chicago, IL 60604                      Telephone: 415-391-0600
Telephone: 312-660-7600                sadik.huseny@lw.com
ssolberg@eimerstahl.com
bwaldin@eimerstahl.com
vjacobsen@eimerstahl.com
jadams@eimerstahl.com
Blue Shield of California, Inc.        Blue Cross and Blue Shield of Florida, Inc.

Stephen David Libowsky                 Karin A DeMasi
MANATT, PHELPS & PHILLIPS, LLP         CRAVATH, SWAINE & MOORE LLP
151 North Franklin Street, Ste 2600    2 Manhattan Plaza
Chicago, IL 60606                      375 Ninth Avenue
Telephone: 312-477-4798                New York, NY 10001
SLibowsky@manatt.com                   Telephone: 212-474-1000
                                       kdemasi@cravath.com
Gregory N. Pimstone
MANATT, PHELPS & PHILLIPS, LLP         Dylan D. Smith
2049 Century Park East                 COTSIRILOS, TIGHE, STREICKER,
Los Angeles, CA 90067                  POULOS &
Telephone: 310-312-4133                CAMPBELL, LTD
gpimstone@manatt.com                   55 East Monroe Street, Ste 3250
                                       Chicago, IL 60603
Rebecca A. Finkel                      Telephone: 312-263-0349
MANATT PHELPS & PHILLIPS LLP           dsmith@cotsiriloslaw.com
151 N Franklin St, Suite 2600
Chicago, IL 60606                      Hannah Lynne Dwyer
Telephone: 312-529-6300                CRAVATH, SWAINE & MOORE LLP
rfinkel@manatt.com                     2 Manhattan West
                                       375 Ninth Avenue
                                       New York, NY 10001
                                       Telephone: 212-474-1000
                                       hdwyer@cravath.com

                                       Lauren R. Kennedy
                                       CRAVATH, SWAINE & MOORE LLP
                                       New York
                                       2 Manhattan West
                                       375 Ninth Avenue
                                       New York, NY 10001
                                       Telephone: 212-474-1000
                                       lkennedy@cravath.com
         Case MDL No. 3121 Document 101-2 Filed 08/08/24 Page 9 of 9




Blue Cross Blue Shield of Michigan Mutual      Health Alliance Medical Plans, Inc.
Insurance Co.
                                               Matthew John O'Hara
Todd Stenerson                                 SMITH, GAMBRELL & RUSSELL, LLP
ALLEN OVERY SHEARMAN STERLING                  311 S. Wacker Drive, Ste 3000
US LLP                                         Chicago, IL 60606
401 9th St. NW, Suite 800                      Telephone: 312-360-6871
Washington, DC 20004                           mohara@sgrlaw.com
Telephone: 202-508-8093
todd.stenerson@aoshearman.com                  Jill Christine Anderson
                                               SMITH, GAMBRELL & RUSSELL, LLP
                                               311 S. Wacker Drive, Ste 3000
                                               Chicago, IL 60606
                                               Telephone: 312-360-6527
                                               janderson@sgrlaw.com



Dated: August 8, 2024                       Respectfully submitted,

                                            /s/ Shinae Kim-Helms
                                            Shinae Kim-Helms
                                            Nathan Cihlar
                                            Christopher V. Le
                                            Joshua Callister
                                            BOIESBATTIN LLP
                                            4041 University Drive, 5th Floor
                                            Fairfax, VA 22030
                                            Tel: 703.764.8700
                                            Fax: 703.764.8704
                                            skimhelms@boiesbattin.com
                                            ncihlar@boiesbattin.com
                                            cle@boiesbattin.com
                                            jcallister@boiesbattin.com

                                            Counsel for Plaintiff Mehrnaz Jamali MD, Inc.
